     Case: 1:17-cv-05462 Document #: 36 Filed: 01/11/18 Page 1 of 1 PageID #:142

                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.1
                                 Eastern Division

Sharpe Innovations, Inc.
                                     Plaintiff,
v.                                                     Case No.: 1:17−cv−05462
                                                       Honorable Virginia M. Kendall
TracFone Wireless, Inc., et al.
                                     Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, January 11, 2018:


       MINUTE entry before the Honorable Gary Feinerman:Status hearing set for
1/17/2018 [34] is stricken. This case has been reassigned to Judge Kendall for further
proceedings.Mailed notice.(jlj, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.
For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
